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Assignment of Rights to Baxter Bailey & Associates, Inc.

This Assignment is made and entered into on 01/16/2024 (“Effective Date”) by and between Noerr Trucking llc (“Assignor”) and Baxter Bailey & Associates, Inc.
(“Assignee”) (collectively, the “Parties”).
In exchange for the mutual covenants contained herein and for valuable consideration, the receipt and sufficiency of which is hereby acknowledged, Assignor hereby irrevocably
assigns and transfers to the Assignee all of its right, title, and interest in and to all obligations owed to Assignor which are identified in the invoice(s), rate confirmation(s), bill(s)
of lading, and/or such other documents evidencing an obligation due to Assignor which are submitted to Assignee contemporaneously and/or subsequent with the execution of
this Assignment (the “Accounts”) and which are incorporated as an addendum to this Assignment. This assignment includes but is not limited to the account(s) receivable and
causes of action against responsible individuals and/or entities under applicable law.

The Parties agree that: (1) Assignee, itself and/or by and through its agents, representatives, successors, or affiliates, will attempt to collect the Accounts; (2) any payments
due to Assignor pursuant to this Assignment from Assignee shall be forwarded to Assignor by the first Friday following the 15th day of the subsequent month, Assignee
collected amounts relating to the Accounts.
(i.e., If the collection was made in January a check will be mailed in February)
(3) Assignor authorizes Assignee or its agent to endorse and deposit in Assignee’s account any and all checks, money orders, drafts, cash or other payments made payable to
or paid to Assignee relating to the Accounts; (4) Assignor agrees to assist and cooperate with Assignee in the collection of the Accounts, including, but not limited to, producing
documents and witnesses upon Assignee’s request; (5) at Assignee’s discretion, a charge of fifteen percent of the balance on the Accounts may be assessed to Assignor for
failure to cooperate with Assignee in the collection of the Accounts or if any part of the Accounts were paid to Assignor prior to placement with Assignee, or if Assignor
requests release of the Account and Assignee agrees.(6) the laws of the state of Tennessee govern this Assignment; the parties consent to jurisdiction in Shelby County,
Tennessee(7) Assignor authorizes Assignee to settle Account (s) for no less than seventy percent of the principal balance placed; however Assignor authorizes Assignee to
settle Account(s) for no less than fifty percent of the principal balances on any Account(s) whereas collections are made from a third party.

The undersigned represents that Assignor has full right and authority to enter into this Assignment, that the Accounts assigned hereunder are solely owned by Assignor, that no
portion of the Accounts have been sold, transferred, or released by Assignor, that the Accounts are not subject to any liens, security interest, or other impairment of title, and that
no portion of the Accounts have been paid or otherwise satisfied. All rights assigned herein shall ensure to the benefit of Assignee and its agents, representatives, successors,
and affiliates.
Assignee shall forward all funds recovered by Assignee after deducting the following percentages:




Forty percent of the recovery will be deducted when an Account meets any of the following criteria, and the percentages in the chart above will not apply: (a) the
invoiced debtor or other liable party is in, or enters, bankruptcy; (b) the invoiced debtor is out of business; (c) Assignee procures payment from an individual or entity other than
the invoiced party; (d) offsets are asserted (i.e., freight loss and damages claims, detention, or late delivery); (e) the Accounts have previously been placed with an attorney or
collection agency. In instances where legal counsel is engaged, fees and costs will also be deducted from funds recovered. A minimum fifteen percent close-out fee will apply
at assignee’s discretion.

Assignor agrees that the above payment structure provides a fair valuation of the assigned rights and justly compensates Assignor for its rights while accounting for Assignee’s
risks in collecting the assigned debts. Assignor agrees to keep the financial terms of this Assignment confidential and shall not disclose these terms to any other person or
entity without Assignee’s prior written consent.

Legal Accounts: Assignor gives Assignee the right to engage legal counsel and/or file suit on any placed account at the Assignee’s discretion. Assignor gives full power of
attorney to Assignee to sign any legal document on Assignor’s behalf in any lawsuit related to the account placed. Assignee shall have full authority to settle any account that
has been placed with legal counsel and/or suit has been filed on at any percentage of the Assignee’s discretion. Assignee shall be entitled to a 50% fee on any account placed
with legal counsel and/or a lawsuit is filed on.

It is the Parties intent that, as of the Effective Date or date of subsequent placement of debts with Assignee, that Assignee shall be the sole owner of all right, title, and interest
in the Accounts.

Power of Attorney and Signing Authority. Assignor vests Assignee, itself and/or by and through its agents, representatives, successors, or affiliates, with power of attorney
and authority to sign any and all documents necessary, in Assignee’s sole discretion, to recover on behalf of Assignor consistent with the terms of this assignment, including
but not limited to executing any and all documentation required by surety/insurance companies as part of the claims process for filing against a broker’s bond. Assignor further
authorizes any surety/insurance/bond company to send payment directly to Baxter Bailey & Associates, Inc.

CLIENT:                                                                                BAXTER BAILEY:
Signature:                                                                             Signature:
Print Name:              Scott Noerr                                                   Print Name:                           Josh Tidwell
Title:                   Ower                                                          Title:                                VP - Sales




                                                                                                                                                         Exhibit A
